Filed 03/10/16                                    Case 15-14228                                           Doc 78


                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF CALIFORNIA
                                          CIVIL MINUTES


    Case Title :        Oscar Gutierrez                                  Case No : 15−14228 − B − 13
                                                                            Date : 03/10/2016
                                                                            Time : 01:30

    Matter :            [62] − Objection to Confirmation of Plan by Trustee Michael H. Meyer [MHM−2] (Clark,
                        Elizabeth)


    Judge :             Rene Lastreto II                        Courtroom Deputy : Jennifer Dauer
    Department :        B                                               Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
                Trustee's Attorney − Deanna Hazelton
    Respondent(s) :
                Debtor(s) Attorney − Glen E. Gates



    OBJECTION was :




    Sustained without prejudice to Debtor filing of a modified plan
